    Case 1:17-cr-00295-CMH Document 1 Filed 12/06/17 Page 1 of 2 PageID# 1



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                               IH OPFfl rOfjRT

                               EASTERN DISTRICT OF VIRGINIA
                                                                                           OEG- 82017
                                        Alexandria Division
                                                                                         CLERK, U.S. DISIRICT COijRT
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UNITED STATES OF AMERICA
                                                         No. l:17cr           OM H
                                                         Count One: Making False Statements
                                                         (18U.S.C. §1001)
               V.

                                                         Count Two: Obstruction of a
                                                            Federal Investigation
                                                         (18U.S.C.§ 1519)

ABDIRIZAK HAJIRAGHE WEHELIE,
               a/k/a Haji Raghe,                         UNDER SEAL


               Defendant

                                           INDICTMENT


                                             Count One
                                      Making False Statements
                                         (18U.S,C.§ 1001)

THE GRAND JURY CHARGES THAT:


        On or about December 7, 2012, in the Eastern District of Virginia and elsewhere, the

defendant, ABDIRIZAK HAJI RAGHE WEHELIE, a/k/a Haji Raghe, in a matter within the

jurisdiction of the executive and judicial branches of the Government of the United States,

knowingly and willfully (1) falsified, concealed, and covered up by a trick, scheme, and device a

material fact; (2) made a materially false, fictitious, and fraudulent statement and representation;

and (3) made and used a false writing and document knowing the same to contain a materially

false, fictitious, and fraudulent statement and entry.

(In violation of 18 U.S.C. § 1001)
    Case 1:17-cr-00295-CMH Document 1 Filed 12/06/17 Page 2 of 2 PageID# 2




                                           Count Two
                              Obstruction of a Federal Investigation
                                        18U.S.C. §1519

THE GRAND JURY FURTHER CHARGES THAT:

       Onor about December 7, 2012, in the Eastern District of Vir^nia andelsewhere, the

defendant, ABDIRIZAK HAJIRAGHE WEHELIE, a/k/a Haji Raghe, knowingly altered,

destroyed, mutilated, concealed, covered up, falsified, andmade a false entry in a record,

document, andtangible object with theintent to impede, obstruct, and influence the investigation

andproper administration of a matter within thejurisdiction of a department andagency of the

United States.

(In violation of 18 U.S.C. § 1519)

                                                                             the E-Government Act,,
                                                                The original of this page hasbeen filed
                                                                    under seal in the Clerk's Office

                                                            Foreman



     DANAJ. BOENTE
     UNITED STATES ATTORNEY




     AssiStSnt United States Attorney

     C. Alexandria Bogle
     Trial Attorney
     Counterterrorism Section
     National Security Division
     U.S. Department of Justice




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